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                             UNITED STATES DISTRICT COURT FOR THE
                                 SOUTHERN DISTICT OF FLORIDA


                                                        CASE NO.: 19-CV-23694-DPG


  XPORT AUTO PARTS, INC.,
  A Florida Corporation,

          Plaintiff(s),

  v.

  www.xportautoparts.com; GoDaddy.com, LLC;
  Unknown Registrant A/K/A Memerio Kernado
  A/K/A Jed Doering; Registrar of Domain Names
  Reg.Ru, LLC,


        Defendants.
  ______________________________________/

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          The Plaintiff, XPORT AUTO PARTS, INC., by and through undersigned counsel,

  pursuant to Rule 41(a)(1)(A)(i), Federal Rules of Civil Procedure, hereby gives notice of its

  voluntary dismissal of this action, without prejudice. This notice of voluntary dismissal is filed

  based on the retrieval of the subject domain name by the Plaintiff rendering moot the claims

  raised by the Plaintiff.

  DATED: September 13, 2019

          Respectfully submitted,
                                                        Recalde Law Firm, P.A.
                                                        Attorneys for Plaintiff
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                                                        By: /s/Geremy Klein
                                                        Geremy Klein, Esq.

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